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                                                                 February 9, 2023
  VIA ECF
  Honorable Pamela K. Chen
  United States District Court for the Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201

          Re:     IME Watchdog, Inc., v. Safa Abdulrahim Gelardi, Vito Gelardi, Gregory Elefterakis,
                  Roman Pollak, Anthony Bridda, Nicholas Elefterakis, Nicholas Elefterakis, and
                  IME Companions LLC, Docket No.: 1:22-cv-1032

  Dear Judge Chen:

           This law firm is counsel to the Defendants, Gregory Elfterakis (“Elefterakis”), Roman Pollak
  (“Pollak”), and Anthony Bridda (“Bridda”) (collectively “Defendants”), in the above-referenced
  matter. We write pursuant to Rule III(A) of Your Honor’s Individual Practices to respectfully request
  a pre-motion conference in anticipation of Defendants filing a motion to dismiss Plaintiff IME
  WatchDog Inc.’s (“Plaintiff”) First Amended Complaint (the “Amended Complaint”). The following
  is a brief summary of the anticipated bases for the motion, which is submitted without prejudice to
  include additional, other or different bases for the motion to dismiss upon its filing with the Court. As
  detailed below, Defendants’ proposed motion is based upon (i) service upon Defendants was
  insufficient as per CPLR §308(2) and (ii) the Amended Complaint fails to state a claim upon which
  relief may be granted against Defendants.

  Summary of Legal Argument

          I.      Plaintiff did not Properly Serve Defendants as per CPLR §308

          Plaintiff allegedly served Defendants Elefterakis, Bridda and Pollack the Summons and
  Complaint on January 12, 2023 by leaving a copy of the Amended Summons and First Amended
  Complaint with Dean Scottie at Case Cash Inc and further mailing said documents via First Class mail
  in an envelope with the words “Personal & Confidential” and addressed to “Case Cash, Inc.” See
  Affidavit of Service, ECF Docket Entry 129. Pursuant to FRCP (4)(e) “service may be made on an
  individual by any method permitted under state law for serving a summons in an action brought in
  courts of general jurisdiction in the state where the district is located.” Under CPLR §308(2),
  substituted service requires (1) delivery of papers within the state of New York to a person of suitable
  age an discretion at the actual place of business, dwelling, or usual place of abode of the person to be
  served; and (2) mailing the papers by first class mail to the person (emphasis added) to be served at
  his or her last know residence or mailing them to his or her actual place of business.

          Under the second requirement of CPLR §308(2), Plaintiff was required to mail the papers to
  the party (emphasis added) being served. The affidavit of service notes that the envelope was
  addressed to “Case Cash, Inc.” at the Case Cash, Inc. business address and not to the respective
  individual Defendants. There was no indication that the envelopes were meant for the individual
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  Defendants. See Affidavit of Service, ECF Docket Entry 129. It is well settled that satisfying both
  requirements under CPLR 308(2) is necessary, and failure to properly perform either of them results
  in dismissal of an action. Stop & Shop Supermarket Co. LLC v. Goldsmith, No. 10 Civ. 3052(KMK),
  2011 WL 1236121 at 4 (S.D.N.Y. Mar 31, 2011). Therefore, service was improper as Plaintiff failed
  to address the envelop to the party to be served as FRCP (4)(e) and CPLR §308(2) require.

          II.     The Complaint Fails To State A Claim Upon Which Relief May Be Granted Against
                  Defendant

          While true that a Court must accept the pleaded factual allegations in a complaint as true, “the
  tenet that a court must accept as true all of the allegations contained in a complaint is inapplicable to
  legal conclusions. Threadbare recitals of the elements of a cause of action, supported by mere
  conclusory statements, do not suffice.” Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937 (2009),
  quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127 S. Ct. 1955 (2007).

          Plaintiff asserts eight causes of action against Defendants but consistently fails to allege any
  specific facts against the individual Defendants as related to the underlying factual background of this
  matter, and instead merely only alleges, in conclusory fashion, that Defendants have allegedly
  “misappropriated” trade secrets and Defendants allegedly were “aware of and privy to” such secrets.
  See Amended Complaint ¶ 66.

          Plaintiff asserts a first and second cause of action under the Defend Trade Secrets Act
  (“DTSA”). Under DTSA, Plaintiff must plead: (1) the existence of a trade secret and (2) the
  misappropriation of that trade secret. Plaintiff failed to plead both elements as Plaintiff simply gave
  conclusory language as against the individual Defendants and just restated the elements of the statute.
  These claims are not supported by alleged facts. Rather, the allegations are that the individual
  Defendants were each aware of and privy to the trade secrets through mere ownership interest in
  Defendant business. There are no allegations that the individual Defendants misappropriated any trade
  secret. This is insufficient to maintain any cause of action.

           Plaintiff asserts a third cause of action for misappropriation under New York common law.
  Plaintiff must allege: (1) it possessed a trade secret; and (2) defendant is using that trade secret in (a)
  breach of an agreement; (b) breach of confidence or duty; or (c) as a result of discovery by improper
  means. As noted above, Plaintiff failed to state a cause of action for misappropriation as Plaintiff gave
  vague, conclusory language that was not supported by factual statements against the individual
  Defendants.

          Plaintiff asserts a fourth cause of action for unfair competition. Plaintiff must allege that the
  Defendants misappropriated the fruits of Plaintiff’s labor by obtaining access to Plaintiff’s ideas
  through fraud or deception, or the abuse of fiduciary or confidential relationship and such conduct must
  cause economic harm to another business or individual. Plaintiff used wholly conclusory language,
  failed to describe how the individual Defendants misappropriated Plaintiff’s labor skills, did not
  address the bad faith acts specific to the individual Defendants, and merely just stated that such actions
  harmed Plaintiff.

           Plaintiff asserts a fifth cause of action for tortious interference. For tortious interference with
  business relations and prospective economic damage Plaintiff must allege: (1) there is an economic
  relationship between the plaintiff and some third party, with the probability of future economic benefit
  to the plaintiff; (2) the defendant’s knowledge of the relationship; (3) intentional acts on the part of the
  defendant designed to disrupt the relationship; (4) actual disruption of the relationship; and (5)
  economic harm to the plaintiff proximately caused by the acts of the defendant. For tortious
  interference with contractual relations, Plaintiff must allege: (1) there was a contractual relationship
  with a third party; (2) defendant knowingly interfered with that contract; (3) the defendant’s
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  interference was improper in motive or means; and (4) the plaintiff was harmed by the defendant’s
  actions. Again, the Plaintiff’s vague, conclusory language is not supported by factual statements
  against the individual Defendants. Plaintiff failed to provide any specific economic relationship that
  was disrupted by the individual Defendants or direct interference by the individual Defendants as
  against third parties.

           Plaintiff asserts a sixth cause of action for unjust enrichment. Plaintiff must allege (1) the
  other party was enriched; (2) at that party’s expense; and (3) that it is against equity and good
  conscience to permit the other party to retain what is sought to be recovered. Plaintiff failed to
  sufficiently plead any benefit bestowed onto the individual Defendants through mere ownership.
  Further, Plaintiff failed to sufficiently plead how the individual Defendants were enriched at the
  Plaintiff’s expense or that it is against equity and good conscience to permit Defendants to operate a
  competing business, as conclusory statements such as financial loss is inadequate.

           Plaintiff asserts a seventh cause of action for civil conspiracy. To bring such a cause of action
  Plaintiff must allege some other cognizable cause of action. Plaintiff has not alleged an independent
  tort that would allow for a civil conspiracy claim merely because the individual Defendants had an
  ownership interest in Defendant business. Even if the Court finds Plaintiff alleged an independent tort,
  such cause of action should still be dismissed as Plaintiff, again, asserted conclusory allegations as to
  how Defendants “conspired” and “entered into a civil conspiracy.”

          Plaintiff asserts an eighth cause of action under conversion. Plaintiff must allege: (1) that it
  has a possessory right or interest in the property and (2) that the defendant exercised dominion over
  the property or interference with it, in derogation of plaintiff's rights. Plaintiff failed to show that the
  individual Defendants exercised an unauthorized dominion over the property through ownership.
  Again, Plaintiff used wholly conclusory language and did not provide a factual basis for the
  individual Defendants alleged “dominion.”

  Conclusion

         In light of the foregoing, Defendants respectfully requests that the Court schedule a pre-motion
  conference in connection with Defendants’ proposed motion to dismiss as soon as is convenient for
  the Court and all counsel of record.

                                                                     Respectfully submitted,

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